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                  UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


WILLIAM ENT                     :
                                :                    CIVIL ACTION – LAW
                    PLAINTIFFS, :
                                :                  JURY TRIAL DEMANDED
                v.              :
                                :
BARRON        GLEZ TRUCKING, :                          NO. 3:23-cv-00170
INC.                            :
                                :
                   DEFENDANTS. :
                                :




    STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P.
                         41(a)(1)(A)(ii)

      IT IS HEREBY STIPULATED AND AGREED by and between the parties

and/or their respective counsel(s) that the above-captioned action is voluntarily

dismissed, with prejudice against the Defendant pursuant to the Federal Rules of Civil
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Procedure 41(a)(1)(A)(ii).




Respectfully submitted:




_____________________________
Brian C. Corcoran, Esquire
Counsel for the Plaintiff
